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      Counsel for Plaintiffs                               listed in signature blocks below
20
                        IN THE UNITED STATES DISTRICT COURT
21                NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
22    PATRICK CALHOUN, et al., on                  Case No. 4:20-cv-5146-YGR-SVK
      behalf of themselves and all others
23    similarly situated,                          JOINT STIPULATION AND [PROPOSED]
                                                   ORDER EXTENDING PLAINTIFFS’
24           Plaintiffs,                           DEADLINE TO FILE REPLY IN SUPPORT OF
                                                   MOTION FOR CLASS CERTIFICATION AND
25           v.                                    RELATED BRIEFING ** as modified by the
26                                                                      court**
      GOOGLE LLC,                                  Civil L.R. 6-2, 7-12
27           Defendant.                            Judge: Hon. Yvonne Gonzalez Rogers
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     STIPULATION AND [PROPOSED] ORDER
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 1          Pursuant to Civil Local Rules 6-2 and 7-12, this joint stipulation is entered into between
 2   Plaintiffs and Google LLC (“Google”), collectively referred to as the “Parties.” The stipulation is
 3   supported by the accompanying Declaration of David A. Straite dated February 8, 2022 (“Straite
 4   Decl.”) pursuant to Civil Local Rule 6-2(a).
 5          WHEREAS, On October 14, 2021, Plaintiffs moved to certify a proposed class of Chrome
 6   users in the United States. Dkt. No. 340 (the “Motion”); and
 7          WHEREAS, On December 22, 2021, Google filed its brief in opposition (Dkt. No. 429) and
 8   related supporting documents, including two motions to strike certain Plaintiffs’ supporting expert
 9   reports (Dkt. Nos. 425 & 427); and
10          WHEREAS, among Google’s supporting documents were declarations of three Google
11   employees: Dkt. 430-10 (declaration of David Crossland regarding Google Fonts API); Dkt. 430-
12   11 (declaration of Ryan Cassidy regarding Google Maps API); Dkt. 430-9 (declaration of Steve
13   Ganem regarding Google Analytics) (collectively, the “Google Declarations”); and
14          WHEREAS, on January 11, 2022, the Court ordered that the deadline for Plaintiffs to file
15   their Reply in Further Support of their Motion for Class Certification (and related briefing,
16   including oppositions to Google’s prior Motions to Strike Plaintiff Expert Reports in Support of
17   Class Certification) be February 11, 2022 and the deadline for Google to file its Reply in Support
18   of its Motions to Strike Plaintiff Expert Reports in Support of Class Certification be March 11,
19   2022 (Dkt. No. 464); and
20          WHEREAS, on January 21, 2022, this case was re-assigned to the Honorable Yvonne
21   Gonzalez Rogers (Dkt. No. 471); and
22          WHEREAS, on February 4, 2022, the parties agreed to conduct depositions of two Google
23   Declarants on February 11, 2022 and the third on February 14, 2022, and to extend Plaintiffs’
24   deadline to file their Reply accordingly (Straite Decl. ¶ 17); and
25          WHEREAS, good cause exists for the short extension, because, absent an extension, the
26   current February 11, 2022 Reply deadline would not allow for consideration of the deposition
27   testimony nor inclusion of any relevant portions in the related briefing; and
28
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 1           WHEREAS, the parties agreed that Google shall have a corresponding extension to file its

 2   Reply in Support of its Motions to Strike Plaintiff Expert Reports in Support of Class Certification;

 3   and

 4           WHEREAS, the parties agreed that Google shall have five weeks to file an opposition to

 5   any motions by Plaintiffs to strike Google expert reports and Plaintiffs shall have three weeks to

 6   file replies;

 7           NOW THEREFORE, the Parties hereby stipulate, subject to Court approval:

 8           1.      The deadline for Plaintiffs to file their Reply in Further Support of their Motion for

 9                   Class Certification (and related briefing, including oppositions to Google’s prior

10                   Motions to Strike Plaintiff Expert Reports in Support of Class Certification) shall be

11                   two business days after final transcripts of the depositions of the three Google

12                   Declarants are transmitted to the parties.

13           2.      The deadline for Google to file its Reply to Plaintiffs’ oppositions to Google’s prior

14                   Motions to Strike Plaintiff Expert Reports in Support of Class Certification shall be

15                   four weeks after Plaintiffs file their oppositions.

16           3.      The deadline for Google to file its Opposition to any motions by Plaintiffs to strike

17                   Google expert reports shall be five weeks after Plaintiffs file such motions.

18           4.      The deadline for Plaintiffs to file their Reply to Google’s Opposition to any Plaintiff

19                   motion to strike Google expert reports shall be three weeks after Google files such

20                   Opposition.

21           5.      The hearing on Plaintiffs’ motion for class certification is calendared for May 31,

22                   2022. shall remain calendared for April 21, 2022.

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 1    Dated: February 9, 2022

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28    Counsel for Plaintiffs                           Counsel for Defendant

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     STIPULATION AND [PROPOSED] ORDER              4
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 1
                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2
            I, David A. Straite, attest that concurrence in the filing of this document has been obtained
 3
     from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4
            Executed this 9th day of February, 2022, at New York, NY
 5

 6                                                         /s/ David Straite
 7                                                          David A. Straite
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     STIPULATION AND [PROPOSED] ORDER                  5
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 1                                                  ORDER

 2           Pursuant to stipulation of the Parties, the Court extends class certification briefing deadlines

 3    as follows: approval:

 4           1. The deadline for Plaintiffs to file their Reply in Further Support of their Motion for

 5               Class Certification (and related briefing, including oppositions to Google’s prior

 6               Motions to Strike Plaintiff Expert Reports in Support of Class Certification) shall be

 7               two business days after final transcripts of the depositions of the three Google

 8               Declarants are transmitted to the parties.

 9           2. The deadline for Google to file its Reply to Plaintiffs’ oppositions to Google’s prior

10               Motions to Strike Plaintiff Expert Reports in Support of Class Certification shall be four

11               weeks after Plaintiffs file their oppositions.

12           3. The deadline for Google to file its Opposition to any motions by Plaintiffs to strike

13               Google expert reports shall be five weeks after Plaintiffs file such motions.

14           4. The deadline for Plaintiffs to file their Reply to Google’s Opposition to any Plaintiff

15               motion to strike Google expert reports shall be three weeks after Google files such

16               Opposition.

17           5. The hearing on Plaintiffs’ motion for class certification shall remain calendared for

18               April 21, 2022.

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20    PURSUANT TO STIPULATION, IT IS SO ORDERED.

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23                                                  _______________________________________

24   Date: February 10, 2022                        Hon. Yvonne Gonzalez Rogers, USDJ

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